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From:               EastProLaw .
Subject:            [EXT] NOT AFFILIATED WITH "LEWIS & BOBO" A CALIFORNIA FOREIGN LLP
Date:               Friday, September 23, 2022 2:13:09 PM
Attachments:        Screenshot 2022-09-23 at 13-44-12 VistaPrint Studio.png
                    Screenshot 2022-09-23 at 13-45-03 VistaPrint Studio png




This should "cool" Jana Lubert's "jets" until I can get to "Little" Billy Helfand, and Bennett Fisher next week---no possible name confusion at all, we
are not that incompetent, all they have to do is like "Doc Holiday" said in "Tombstone": "SAY WHEN"!-- and say otherwise, thereby holding open
the door in court for me to put on evidence to the contrary! "Don't be a daisy" Bennett & Billy, just "SAY WHEN"!--see the back of the card!




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                                                                                                                                                                        EXHIBIT 12
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